
PER CURIAM.
Affirmed. See Fla. R. Civ. P. 1.190(b) (“When issues not raised by the pleadings are tried by express or implied consent of the parties, they shall be treated in all respects as if they had been raised in the pleadings.”); C.J. v. Dep’t of Children &amp; Family Sens., 9 So.3d 750 (Fla. 2d DCA 2009) (holding when an issue is tried by implied consent, due process concerns are alleviated); Robinson v. Robinson, 340 So.2d 935 (Fla. 4th DCA 1976) (holding an issue not raised in the pleadings is tried by implied consent where the issue is presented, considered, and ruled upon by the trial court without objection).
